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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


The City of Philadelphia,                  :      CIVIL ACTION
                                           :
                      Plaintiff,           :      NO. 17-3894
                                           :
              v.                           :
                                           :
Jefferson Beauregard Sessions III,         :
                                           :
                      Defendant.           :


                                     ENTRY OF APPEARANCE


         Kindly enter my appearance on behalf of Amicus The State of New York in this matter.



                                           _____/glk/________________________
                                           Gilda L. Kramer, Esquire
                                           PA ID # 35992
                                           Gilda L. Kramer & Associates, LLC
                                           1528 Walnut Street, Suite 501
                                           Philadelphia, PA 19102
                                           Telephone: (215) 732-4055
                                           Fax: (215) 732-2736
                                           gkramer@gildakramer.com


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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 15, 2018, the foregoing document was filed with the
Clerk of the Court using the EFC system of the U.S. District Court for the Eastern District of
Pennsylvania, which will serve the same via electronic filing upon all counsel of record.




                                            ______/glk/_______________________
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                                            PA ID # 35992
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